            Case 1:19-cv-01548-TNM Document 6 Filed 10/11/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DISTRO SYSTEMS LLC,
                        Plaintiff,
                v.                                        Civil Action No. 19-1548 (TNM)
 U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES,
                        Defendant.


                                JOINT STATUS REPORT

       Pursuant to the Court’s August 15, 2019, Minute Order, Plaintiff, Distro Systems LLC

(“Distro Systems”), and Defendant, U.S. Citizenship and Immigration Services (“USCIS”),

respectfully submit this Joint Status Report and report as follows:

       1.      This Administrative Procedure Act (“APA”) case challenges USCIS’s denial of

Distro Systems’ petition for an H-1B visa.

       2.      On July 30, 2019, USCIS vacated its denial, reopened Distro Systems’ petition, and

on August 14, 2019 issued Distro Systems a request for additional evidence in support of the

petition. USCIS intends to issue a new decision in light of any additional evidence submitted by

Distro Systems. If Distro Systems is able to submit evidence demonstrating that it is entitled to a

visa, then USCIS will grant the petition.

       3.      The request for evidence requires Distro Systems to respond by November 9, 2019,

and USCIS estimates that it will take about one month for it to review any additional evidence

provided by Distro Systems and issue a new decision on the visa petition. Distro Systems has not

yet submitted its response to the request for evidence.
            Case 1:19-cv-01548-TNM Document 6 Filed 10/11/19 Page 2 of 2



       4.      Pursuant to the Court’s August 15, 2019, Minute Order, the parties will submit a

further joint status report on or before December 13, 2019, and will promptly notify the court

within 7 days of any visa decision made by Defendant.




 Dated: August 14, 2019                            Respectfully submitted,
 /s/ Michael E. Piston                             JESSIE K. LIU, D.C. Bar #472845
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